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                UNITED STATES DISTRICT COURT
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                SOUTHERN DISTRICT OF GEORGIA CLERAk__
                                                                        SO LI 1
                      STATE SBORO DIVISION

ANDREA FRANKLIN,

      Movant,

V.                                      Case No.   0V611-022
                                                   CR606-026
UNITED STATES OF AMERICA,

      Respondent.

                               ORDER
      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

      SO ORDERED this /ay of                           , 2011.



                                     7FIE D
                                  UNITED STATES STRJ T JUDGE
                                  SOUTHERN DIS ICT OF GEORGIA
